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             23-7544
             Gardner-Alfred v. Federal Reserve Bank of New York




                                             UNITED STATES COURT OF APPEALS
                                                   FOR THE SECOND CIRCUIT



                                                                  August Term, 2024

                                      Argued: December 4, 2024                  Decided: July 2, 2025

                                                              Docket No. 23-7544-cv



                                               LORI GARDNER-ALFRED, JEANETTE DIAZ,

                                                                                    Plaintiffs-Appellants,

                                                                       — v. —

                                                 FEDERAL RESERVE BANK OF NEW YORK,

                                                                                    Defendant-Appellee.


             B e f o r e:

                                               LYNCH, NARDINI, and LEE, Circuit Judges.

                                                                  __________________

                    In 2021, defendant-appellee the Federal Reserve Bank of New York (the
             “Federal Reserve”) adopted a policy requiring all employees to be vaccinated
             against Covid-19 unless they were granted a religious or medical exemption.
             Plaintiffs-appellants Lori Gardner-Alfred and Jeanette Diaz, employees at the
             Federal Reserve, applied for religious exemptions, asserting that receiving a
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             Covid-19 vaccine was against their religious beliefs. The Federal Reserve denied
             their requests and ultimately fired them for violating the vaccination policy.
             Gardner-Alfred and Diaz assert that the Federal Reserve’s actions impinged on
             their religious liberties guaranteed by the Free Exercise Clause of the First
             Amendment and various federal statutes.
                    Following discovery, the district court granted the Federal Reserve’s
             motion for summary judgment on all of Gardner-Alfred’s and Diaz’s federal
             claims, concluding that there was no genuine dispute of fact that Gardner-Alfred
             and Diaz did not have sincerely held religious objections to the Federal Reserve’s
             vaccination policy, and that the vaccination policy did not conflict with Diaz’s
             professed religious beliefs.
                    We conclude that the district court (Liman, J.) correctly granted summary
             judgment on Gardner-Alfred’s claims. We find, however, that disputed issues of
             material fact preclude summary judgment on Diaz’s claims. We also conclude
             that the district court did not abuse its discretion in granting the Federal
             Reserve’s motion for discovery sanctions, locating no clear error in the district
             court’s findings that Gardner-Alfred and Diaz repeatedly neglected their
             discovery obligations, withheld relevant documents, and flouted the district
             court’s orders. We therefore AFFIRM in part and VACATE in part the judgment
             of the district court, and REMAND the case for further proceedings.




                          STEVEN M. WARSHAWSKY, The Warshawsky Law Firm, Mt. Kisco, NY
                               (John G. Balestriere, Michael J. Weiner, Balestriere Fariello, New
                               York, NY on the briefs), for Plaintiffs-Appellants.

                          ALEX LEONARD (Daphne Ha, Michele Kalstein on the brief), Federal
                               Reserve Bank of New York, New York, NY for Defendant-
                               Appellee.




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             GERARD E. LYNCH, Circuit Judge:

                    Defendant-appellee the Federal Reserve Bank of New York (the “Federal

             Reserve”) declined the requests of plaintiffs-appellants Lori Gardner-Alfred and

             Jeanette Diaz for a religious exemption from a policy that required all Federal

             Reserve employees to be fully vaccinated against Covid-19. The Federal Reserve

             then fired Gardner-Alfred and Diaz when they failed to comply with that

             vaccination policy. Gardner-Alfred and Diaz sued, claiming that the Federal

             Reserve’s actions infringed upon their religious liberties in violation of, inter alia,

             the Religious Freedom Restoration Act, the Free Exercise Clause of the First

             Amendment, and Title VII of the Civil Rights Act of 1964.

                    The district court (Lewis J. Liman, J.) granted summary judgment to the

             Federal Reserve on Gardner-Alfred’s and Diaz’s claims. In addition, the district

             court found that, while litigating their claims, Gardner-Alfred and Diaz both

             engaged in discovery misconduct, and on motion of the Federal Reserve,

             imposed sanctions in the form of adverse inference instructions and an award of

             attorneys’ fees and expenses occasioned by that misconduct. On appeal, Gardner-

             Alfred and Diaz challenge the district court’s imposition of discovery sanctions

             and grant of summary judgment against them.


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                    We conclude that the district court did not abuse its discretion by imposing

             sanctions and that the district court properly granted summary judgment on

             Gardner-Alfred’s claims. We also conclude, however, that disputed issues of

             material fact about whether Diaz’s sincerely held religious beliefs conflict with

             the Federal Reserve’s vaccination policy preclude summary judgment against

             Diaz. Accordingly, we AFFIRM in part and VACATE in part the judgment of the

             district court, and REMAND the case for further proceedings.

                                              BACKGROUND

                    Gardner-Alfred and Diaz were executive assistants to C-suite officers at the

             Federal Reserve when the Covid-19 pandemic began. Like many other

             employers, the Federal Reserve responded to the pandemic by shifting most of its

             employees, including Gardner-Alfred and Diaz, to remote work starting in

             March of 2020. That policy continued until, in the summer of 2021, the Federal

             Reserve announced its intention to begin “a phased return to the office after

             Labor Day,” which required employees to return to work in person several days

             a week. App’x 893.

                    As part of that transition, the Federal Reserve adopted a vaccination policy,

             which provided that “[a]s a condition of employment, every individual


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             employed by the [Federal Reserve] must be fully vaccinated against COVID-19,

             as defined in applicable public health guidance, and receive a booster shot within

             thirty (30) days of becoming eligible to do so, unless they receive an

             accommodation related to this requirement.” Id. 56. As relevant here, employees

             could apply for an exemption from the policy based on “a sincerely held religious

             belief that precludes receiving the COVID-19 vaccine” by submitting “a religious

             accommodation request form” with a “clear[]” explanation as to “why receiving

             the COVID-19 vaccination would be contrary to their religious beliefs.” Id. 57.

                    Gardner-Alfred and Diaz sought religious exemptions from the

             vaccination policy on August 9, 2021 and September 1, 2021, respectively. The

             Federal Reserve granted them both “temporary accommodation[s]” from the

             vaccination policy until November 30, 2021. Id. 86, 1092. On November 29,

             however, the Federal Reserve decided not to grant Gardner-Alfred and Diaz

             permanent religious accommodations, indicated that their temporary

             accommodations would expire on January 7, 2022, and informed them that they

             would need to be vaccinated by December 26, 2021 to comply with the

             vaccination policy. Ultimately, Gardner-Alfred and Diaz did not get vaccinated

             and, as a result, they were fired on March 14, 2022.


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             I.     Procedural History

                    A.    Early Stages of the Lawsuit

                    Prior to their termination, Gardner-Alfred and Diaz filed this lawsuit in the

             Supreme Court of New York, seeking to enjoin the Federal Reserve from firing

             them for their refusal to comply with the vaccination policy.1 The Federal Reserve

             timely removed the case to the United States District Court for the Southern

             District of New York.

                    Gardner-Alfred and Diaz then filed an amended complaint, the operative

             complaint for purposes of this appeal, alleging that the Federal Reserve’s actions

             violated the Religious Freedom Restoration Act (“RFRA”), the Free Exercise

             Clause of the First Amendment, Title VII of the Civil Rights Act of 1964, New

             York State’s Human Rights Law, and New York City’s Human Rights Law. On

             the Federal Reserve’s motion to dismiss the amended complaint, the district court

             dismissed the claims under New York State’s and New York City’s Human


             1
               Although the state court issued a temporary restraining order, prohibiting the
             Federal Reserve from firing Gardner-Alfred and Diaz, after the case was
             removed to federal court, the district court dissolved the temporary restraining
             order because Gardner-Alfred and Diaz failed to “satisfy the requirements of
             Federal Rule of Civil Procedure 65” and failed to “carr[y] their burden of
             justifying continuing injunctive relief.” Gardner-Alfred v. Federal Reserve Bank of
             New York, No. 22-cv-1585, 2022 WL 748249, at *3–4 (S.D.N.Y. Mar. 11, 2022).

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             Rights Laws but permitted the federal claims to proceed. See Gardner-Alfred v.

             Federal Reserve Bank of New York, 651 F. Supp. 3d 695, 698 (S.D.N.Y. 2023).

                     B.     Discovery

                     After almost a year of discovery, the Federal Reserve moved for discovery

             sanctions, alleging that Gardner-Alfred and Diaz were flouting their discovery

             obligations under the Federal Rules of Civil Procedure and the district court’s

             discovery orders. After full briefing and a hearing, the district court found that

             Gardner-Alfred and Diaz had repeatedly failed to comply with their discovery

             obligations, violated the court’s discovery orders, and withheld relevant,

             potentially damaging documents.2

                     Based on the nature of Gardner-Alfred’s and Diaz’s non-compliance with

             their discovery obligations and the court’s orders, the district court concluded

             that Gardner-Alfred and Diaz acted “willful[ly]” and “in bad faith” and that their

             misconduct warranted the imposition of sanctions under Federal Rules of Civil

             Procedure 16(f), 37(b), and 37(c). Gardner-Alfred v. Federal Reserve Bank of New

             York, No. 22-cv-1585, 2023 WL 3495091, at *8–14 (S.D.N.Y. May 17, 2023). In

             addition, the district court found that sanctions under Federal Rule of Civil


             2
                 Gardner-Alfred and Diaz do not challenge those factual findings on appeal.

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             Procedure 26(g) were warranted against Diaz, Gardner-Alfred, and their counsel

             because they had falsely represented on numerous occasions that they had

             produced all responsive documents. Id. at *14–16.3

                    Having concluded that sanctions were in order, the district court turned to

             determining “the least harsh sanction that can provide an adequate remedy” for

             such blatant misconduct. Id. at *16 (quotation marks omitted). First, the district

             court concluded that the Federal Reserve was

                          entitled to reasonable expenses and attorneys’ fees
                          incurred in connection with (1) the [sanctions] motion,
                          (2) call and email correspondence with opposing
                          counsel from March 21 to the present date regarding
                          [Gardner-Alfred’s and Diaz’s] discovery deficiencies; as
                          well as (3) expenses incurred in connection with their
                          February 27 motion to compel.

             Id. The district court held counsel for Gardner-Alfred and Diaz solely responsible

             for a certain subset of those expenses and fees under Federal Rule of Civil

             Procedure 26(g). Id.4




             3
              Attorney Steven Warshawsky, who argued the appeal, was not counsel below
             and thus was not sanctioned by the district court.
             4
               The district court subsequently determined that the Federal Reserve was
             “entitled to $53,808 in attorneys’ fees and costs,” with “$2,400 of those fees” being
             the sole responsibility of counsel for Gardner-Alfred and Diaz. Special App’x 65.

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                    Second, the district court imposed adverse inference instructions with

             respect to the documents that it found were “intentionally” and in “bad faith”

             not turned over by Gardner-Alfred and Diaz. Id. at *17.3 The district court

             concluded that adverse inference instructions were warranted because “[n]o less

             stringent sanctions would be sufficient either to cure the prejudice to [the Federal

             Reserve] or to satisfy the deterrent value of sanctions.” Id.

                    C.    Motion for Summary Judgment

                    After the district court granted the sanctions motion, the Federal Reserve

             moved for summary judgment on Diaz’s and Gardner-Alfred’s remaining claims.

             On September 25, 2023, the district court granted summary judgment to the

             Federal Reserve on both Gardner-Alfred’s and Diaz’s claims and entered final

             judgment.

                    On Gardner-Alfred’s claims, the district court concluded that the Federal



             3
               The specific adverse inference instructions that the district court ordered are
             that: (1) Gardner-Alfred “has withheld documents regarding her vaccination
             exemption package”; (2) “Diaz has withheld the [e]lectronic [n]otes and URL
             [l]ist”; and (3) “the documents withheld by Gardner-Alfred regarding the
             contents of her vaccination exemption package and her payment to the ‘Reverend
             Dr.’ Valentine would show she purchased the same vaccination exemption
             package, in the same way and for the same amount, as the [Federal Reserve’s]
             independent investigator.” Gardner-Alfred, 2023 WL 3495091, at *18.

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             Reserve was entitled to summary judgment because Gardner-Alfred “failed to

             identify sufficient evidence to create a genuine issue of material fact” that her

             objection to receiving the Covid-19 vaccine “was based in sincerely held religious

             beliefs.” Gardner-Alfred v. Federal Reserve Bank of New York, No. 22-cv-1585, 2023

             WL 6214863, at *12, *15 (S.D.N.Y. Sept. 25, 2023). The district court reasoned that

             Gardner-Alfred had failed to raise a fact issue because:

                            her opposition to the vaccine is based on a purported
                            religion to which there is no evidence, other than her
                            conclusory say-so, that she ever belonged, whose
                            practices she never followed (with the exception of her
                            opposition to the vaccine), and from which she obtained
                            an “affidavit” that is available to anyone who would
                            pay.

             Id. at *12.

                    Similarly, on Diaz’s claims, the district court concluded that the Federal

             Reserve was entitled to summary judgment because she failed to show that her

             objection to the vaccination policy “was based in sincerely held religious beliefs.”

             Id. The district court explained that this is so because Diaz held secular objections

             to the vaccines; she “act[ed] in a manner inconsistent with her claimed religious

             views”; “[t]here is no evidence that [Diaz] held the views that she now holds at

             any time either before or after [the Federal Reserve] required her to take the


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             Covid-19 vaccine”; and “Diaz offer[ed] no evidence other than her own say-so to

             support the notion that she has a sincere religious objection to the Covid-19

             vaccine.” Id. at *16–18. In the alternative, the district court concluded that the

             Federal Reserve was entitled to summary judgment on Diaz’s claims because she

             failed to show that the vaccination policy “conflict[ed] with [her] views, even if

             those views were sincerely rooted in religion.” Id. at *12. Specifically, the district

             court construed Diaz’s objection as one against “any vaccine or medicine that

             was manufactured with or contains the cells of human fetuses.” Id. at *18. Then,

             based on that interpretation of Diaz’s beliefs, the district court concluded that “no

             reasonable jury could find that a requirement that Diaz take either the Moderna

             or Pfizer vaccine would violate [her] views” because “[i]t is not disputed that the

             Moderna and Pfizer vaccines do not contain human fetal cells.” Id.

                    D.      This Appeal

                    Diaz and Gardner-Alfred then timely appealed the district court’s

             sanctions order and summary judgment decision. In the posture in which this

             case comes to us on appeal, we need not adjudicate the merits of Gardner-

             Alfred’s and Diaz’s contention that the Federal Reserve’s actions infringed their

             religious liberties in violation of federal law. Instead, our task is more limited: we


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             must determine whether Gardner-Alfred and Diaz adduced sufficient evidence

             to create a genuine dispute of material fact as to whether their sincerely held

             religious beliefs conflicted with the vaccination policy. Accordingly, we set forth

             in considerable detail the evidentiary record with respect to the plaintiffs-

             appellants’ asserted beliefs.

             II.    Factual Record on Summary Judgment

                    A.      Diaz’s Religious Beliefs

                    We start with Diaz. Diaz claims that her religious beliefs as a Catholic

             prohibit her from receiving, in most circumstances, vaccines “created using

             human cell lines derived from abortion,” Decl. of Jeanette Diaz ¶ 33, Gardner-

             Alfred v. Federal Reserve Bank of New York, No. 22-cv-1585 (S.D.N.Y. Apr. 19, 2022),

             ECF No. 30, which she explained encompasses any vaccine that is “derived

             from,” “manufactured with,” or “produced with aborted [fetal] cell lines,” App’x

             957, 972, 1227. She has no religious objections, however, to receiving vaccines that

             do not “contain” and “are not manufactured with aborted fetal cell lines,” and

             she would take any such vaccine if her “doctor recommended it.” Id. 999–1000.

                    Diaz believed that receiving a Covid-19 vaccine would be inconsistent with

             those religious convictions. Accordingly, on August 30, 2021, she asked her


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             pastor, who was a member of the Archdiocese of Newark, to sign a template

             letter, printed on the letterhead of the Colorado Catholic Conference, that

             explained why Diaz’s beliefs as a Catholic prohibited her from receiving a Covid-

             19 vaccine. Her pastor, however, refused to sign the letter in keeping with the

             official policy of the Archdiocese of Newark that “it is not possible for a Catholic

             to claim an exemption from vaccination on religious grounds” based on official

             Catholic doctrine, but that “[l]ike anyone else, a Catholic may claim a personal

             exemption on the grounds of conscience.” Id. 1050. The pastor provided a copy of

             that official policy to Diaz.

                    Despite this setback, Diaz remained steadfast in her objection, because she

             believed that receiving a Covid-19 vaccine would “contradict[]” the teachings of

             the Catholic Church that congregants are to “follow [their] moral conscious [sic]”

             and comply with the Fifth Commandment’s prohibition on murder. Id. 1226–27.

             Diaz therefore submitted the letter from the Colorado Catholic Conference to the

             Federal Reserve with her religious accommodation request, only with her

             signature instead of her pastor’s. In keeping with her professed religious beliefs,

             the letter explains that “a Catholic may determine that . . . she ought to refuse

             certain vaccines” based on the “moral duty to refuse the use of medical products,


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             including certain vaccines, that are created using human cell lines derived from

             abortion.” Id. 64.

                    There is also evidence in the record, however, that Diaz had secular

             objections to receiving a Covid-19 vaccine. The Federal Reserve contends that the

             presence of such non-religious objections calls into question the sincerity of her

             religiously-based objection. For example, there is evidence that on August 22,

             2021, a week before approaching her pastor about signing the template letter,

             Diaz attended a webinar run by Gary Null (a secular figure) entitled “How To

             Survive COVID.” Id. 1037. A URL list that was distributed to the webinar’s

             attendees included links to documents with titles such as “Review of Ivermectin

             Efficacy,” “White Paper - Experimental Covid Vaccines,” and “Preventing

             Vaccine Mandates Toolkit,” which raise facially non-religious concerns about the

             Covid-19 vaccines. Id. 1039. Furthermore, Diaz submitted a request for a medical

             exemption from the vaccination policy, in tandem with her religious

             accommodation request, but ultimately stopped pursuing a medical

             accommodation because her doctor disagreed with her about whether she should

             be vaccinated.

                    Additionally, after submitting her accommodation request, Diaz continued


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             to consume media that raised secular objections to the Covid-19 vaccines.

             Between October 2021 and March 2022, Diaz “subscribed to at least eight email

             newsletters from anti-vaccination sources from which she received hundreds of

             emails opposing Covid-19 vaccination on secular grounds.” Id. 1208–09 ¶ 50. For

             example, Diaz received an email from Lawrence B. Palevsky’s Holistic Child

             Health Newsletter that stated that “the so-called SARS-CoV-2 virus exists only as

             a mental construct whose existence in the real world has been disproven by the

             science itself” and referred to the Covid-19 vaccines as “murder shots.” Id.

             1066–67. Diaz also sent emails and memes raising non-religious concerns about

             the Covid-19 vaccines to Gardner-Alfred. For example, in February 2022, Diaz

             forwarded to Gardner-Alfred an email from Project Veritas that raised concerns

             about “the FDA potentially hiding the fact that annual COVID shots will be

             enforced,” id. 1077–78, and in December 2021, Diaz sent Gardner-Alfred a meme

             that rearranged the letters of “Delta” and “Omicron” into “Media Control,” id.

             1082.

                     In addition to the evidence that Diaz had non-religious concerns about the

             Covid-19 vaccines, there is also evidence that Diaz may have acted inconsistently

             with her professed objection to receiving medications created from aborted fetal


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             cells. Specifically, in the past, Diaz has taken medications without first

             ascertaining whether they were “made using aborted fetal cell lines.” Id. 971,

             996–97. She explained that behavior by noting that as long as she does not know

             that a medication is manufactured with aborted fetal cell lines, she can take it.

             She distinguished the Covid-19 vaccine from those medications on the grounds

             that she “believe[d]” that the Covid-19 vaccines were manufactured with aborted

             fetal cells. Id. 972.

                    Finally, the record contains scientific evidence about the creation of the

             mRNA vaccines that casts doubt on whether Diaz’s professed religious beliefs

             actually conflict with getting vaccinated against Covid-19. Specifically, Dr. Clare

             Rock, the Federal Reserve’s expert, opined that:

                            The mRNA COVID-19 vaccines produced by Pfizer and
                            Moderna do not use any fetal cells cultures in order to
                            manufacture or produce the vaccine. In other words, the
                            mRNA vaccines themselves do not contain any aborted
                            fetal cells or fetal cell cultures, nor are they
                            manufactured or produced with such cells or cell
                            cultures.

             Id. 881. That evidence suggests that, if Diaz objects only to vaccines that contain

             or were manufactured with aborted fetal cell lines, receiving the Pfizer or

             Moderna vaccines would not contravene her religious beliefs. Critically,


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             however, although the mRNA vaccines themselves do not contain and were not

             directly made with aborted fetal cells, the record also contains evidence that

             aborted fetal cell lines “were used in testing during research and development of

             the mRNA vaccines.” Id. 1300.

                    In sum, there was competing evidence in the record with respect to

             whether Diaz’s sincerely held religious beliefs conflicted with the Federal

             Reserve’s vaccination policy. On the one hand, Diaz claimed that she had a

             religious objection to the Covid-19 vaccines, based on her Catholic faith, because

             she believed that they were created using aborted fetal cells. On the other hand,

             there is evidence that Diaz also had secular objections to the Covid-19 vaccines,

             may have acted inconsistently with her professed religious beliefs in utilizing

             other medical products, and had been instructed by her Catholic pastor that the

             Church did not object to the Covid-19 vaccines. Moreover, the uncontradicted

             scientific evidence in the record was that mRNA Covid-19 vaccines do not

             contain and were not manufactured with aborted fetal cells.

                    B.      Gardner-Alfred’s Religious Beliefs

                    Gardner-Alfred testified that for the past twenty years, she has belonged to

             the Temple of the Healing Spirit, and has actively attended its virtual services.


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             The Temple of the Healing Spirit “prioritizes holistic approaches to health

             focused on diet and spiritual self-awareness, and opposes the invasive techniques

             of traditional Western medicine.” Decl. of Lori Gardner-Alfred ¶ 35, Gardner-

             Alfred v. Federal Reserve Bank of New York, No. 22-cv-1585 (S.D.N.Y. Apr. 19, 2022),

             ECF No. 29. Consistent with those principles, Gardner-Alfred asserts that she

             “live[s] and believe[s] in a more holistic, organic way of living” and does not

             “put foreign, mankind medicines,” such as Covid-19 tests or vaccines, “into [her]

             body.” App’x 1255–56. Accordingly, the affidavit that Gardner-Alfred submitted

             to the Federal Reserve with her religious accommodation request claimed that

             her “sincere and conscientiously held [r]eligious [b]eliefs and [c]onvictions”

             prohibit her from receiving the Covid-19 vaccine and undergoing Covid-19

             testing. Id. 60.

                    Gardner-Alfred’s deposition testimony, however, casts serious doubts on

             the veracity of her claimed longstanding affiliation with the Temple of the

             Healing Spirit. Despite attesting in her declaration that she “participate[s]

             virtually in services and meetings as a general matter,” Decl. of Lori Gardner-

             Alfred ¶ 10, Gardner-Alfred admitted at her deposition that she was not

             attending virtual services at the time she wrote that declaration. She continued to


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             insist that she had attended virtual services in the past. But when the Federal

             Reserve’s counsel then asked her what her declaration was referring to and what

             type of services she had joined in the past, Gardner-Alfred responded: “Well, just

             what it says, you know, virtual services, meetings as a general matter.” App’x

             899. Unsatisfied with that answer, the Federal Reserve’s counsel tried again to get

             more details about the services, asking Gardner-Alfred “What happens at those

             virtual services?” Id. Yet the only description that Gardner-Alfred gave was: “We

             just talk about, you know, uplifting spirituality, you know, reconnecting.” Id.

                    Beyond that description, Gardner-Alfred could provide almost no details

             about the virtual services. Gardner-Alfred testified that she could not “recall”

             how many virtual services she attended, nor whether she had attended more

             than five virtual services over the past five years. Id. 900. And when prompted by

             the Federal Reserve’s counsel to describe “one service that [she] recall[ed]

             attending,” Gardner-Alfred did not talk about a virtual service at all, instead

             stating that: “It was a service that was in person.” Id. 901 (emphasis added). But

             the elaboration she provided about that service was just as vague as her prior

             description of the virtual services, stating only that the service was “[i]n

             Brooklyn” at a “home.” Id. 901–02. Nor could she “recall” the name of anyone


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             with whom she had attended a service. Id. 947.

                    Moreover, her testimony about the one detail that she did attempt to

             provide about the virtual services – how she joined them – was inconsistent.

             Gardner-Alfred claimed that it was possible to join the virtual services via a link,

             but when first asked if she had ever been sent a link to a virtual service, she said,

             “No.” Id. 899. Soon thereafter, however, when the Federal Reserve’s counsel

             asked her how she found the links to the virtual services, Gardner-Alfred

             claimed that links to the virtual services “were sent to” her via “[e]mail.” Id. 900.

             But Gardner-Alfred has not produced a single email containing a link to a virtual

             service during the course of this entire litigation, despite demands from the

             Federal Reserve to produce such emails.

                    Furthermore, the only documentary evidence tying Gardner-Alfred to the

             Temple of the Healing Spirit is a “vaccination exemption package.” See id. 1200

             ¶ 22. According to Gardner-Alfred, she received that package from the Reverend

             Dr. Phillip Valentine, the founder of the Temple of the Healing Spirit. The

             package included: (1) the affidavit that she signed and submitted with her

             religious accommodation request, and (2) a handwritten letter signed by

             Reverend Valentine, which states that “Lori Gardner-Alfred is a member in


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             excellent standing with our Church.” Id. 952. Although the letter on its face

             attests to Gardner-Alfred’s affiliation with the Temple of the Healing Spirit,

             Gardner-Alfred’s conflicting testimony about how she obtained the package, and

             evidence in the record that anyone can obtain the package for a fee, without any

             affiliation to the Temple of the Healing Spirit, severely undermines her claims to

             have belonged to the Temple.

                    First, Gardner-Alfred gave vague and contradictory testimony about how

             she obtained the vaccination exemption package. At her deposition, Gardner-

             Alfred claimed that in exchange for the vaccination exemption package, she

             made a monetary donation to the Temple. Although she could not remember at

             the time how much money she gave Reverend Valentine, she did represent that

             she made the donation using “Zelle or Cash App.” Id. 941. But after she failed to

             produce any documentation of that electronic payment in response to discovery

             demands, Gardner-Alfred gave a different account at a court hearing. There, she

             testified that she gave Reverend Valentine $487 in exchange for the vaccination

             exemption package, but then she claimed that she made that cash payment in

             person to an “affiliate” of Reverend Valentine. 5/9/23 Hr’g Tr. 52:2–22, 60:17–61:6,

             67:21–25, 68:9–10, Gardner-Alfred v. Federal Reserve Bank of New York, No. 22-cv-


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             1585 (S.D.N.Y. May 9, 2023), ECF No. 150. But she could provide no details about

             how she made this in-person payment in the middle of the pandemic.

                    (1) She gave vague testimony about where the payment was made. When

             the Federal Reserve’s counsel first asked her “where” the hand-off occurred,

             Gardner-Alfred responded, “It was just a meet up.” Id. 68:19–21. Counsel then

             immediately asked again “[w]here” the meeting occurred, to which Gardner-

             Alfred stated, “I think it was Brooklyn.” Id. 68:22–23. But when asked “[w]here in

             Brooklyn,” Gardner-Alfred, at first, could not “recall [the] exact location.” Id.

             68:24–25. Counsel pressed on, asking if the meeting was in a building, on a street,

             or in a park. Id. 69:1–6. Again providing almost no details, Gardner-Alfred simply

             confirmed that the meet occurred on the street (not a building) but stated that she

             could not “remember” whether it happened in a park. Id. It was only when the

             court finally inquired if she had “an approximate location” for the hand-off that

             Gardner-Alfred offered the meeting had occurred “near Fulton Street in

             Brooklyn.” Id. 69:7–9.

                    (2) Similarly, Gardner-Alfred could provide no details about to whom she

             made the payment. At the hearing, she could not remember the name of the

             person that she met, nor could she explain how she knew to whom to hand the


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             money in light of the fact that she had never met that person, or even seen a

             photograph of them, before allegedly handing them $487 in cash. Id. 68:8–10,

             69:11–70:21. Her only explanation for how she knew to whom to hand the money

             was it was “[b]y way of Dr. Valentine,” but when asked what exactly that meant,

             Gardner-Alfred gave the following convoluted response: “Meaning, I had to get

             the individual’s – how the person – who the person was through him.” Id.

             69:11–70:8. When counsel continued to press for more details, Gardner-Alfred

             did not directly answer, instead giving responses such as “I’m not sure what you

             are asking me” and “I’m not sure what else you want me to say,” before finally

             proclaiming, “I just don’t remember every detail about the transaction and the

             meet up, but it was what it was.” Id. 70:9–21.

                    Moreover, beyond the conclusory testimony about how she obtained the

             vaccination exemption package, there is record evidence that anyone could

             obtain the same vaccination exemption package as Gardner-Alfred without

             having any affiliation to the Temple of the Healing Spirit. On his Facebook page,

             Reverend Valentine advertises the vaccination exemption package for sale to the

             general public. Accordingly, the Federal Reserve’s independent investigator,

             Adam Deutsch, was able to call Reverend Valentine and purchase the vaccination


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             exemption package for $487, the same amount that Gardner-Alfred says she paid

             for hers. The package Deutsch received included the same affidavit and

             handwritten letter that Gardner-Alfred had received. Tellingly, the handwritten

             letter stated that “Adam Deutsch is a member in excellent standing with our

             Church,” App’x 798, even though Deutsch had no prior affiliation with the

             Temple.

                    Finally, there is evidence that Gardner-Alfred, like Diaz, acted

             inconsistently with her professed religious opposition to Western medicine. Over

             the past decade, Gardner-Alfred has taken prescription medications, injections,

             and over-the-counter supplements; had two surgeries; and had implants

             inserted. Gardner-Alfred admitted that certain of those procedures and

             medications, including “biopsies, a lesion removal, anesthesia injections, tear

             duct implants, and dental implants,” were “against [her] beliefs.” Id. 939. As most

             relevant here, Gardner-Alfred confessed that she took a Covid test in November

             2021, despite considering it “an invasive technique of Western medicine” that

             “[p]ossibly” violates her religious beliefs. Id. 910. Her only explanation for how

             she could take the test, without violating her religious beliefs, was that she “just

             felt at that moment it wasn’t invasive.” Id. 910–11.


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                    In sum, as with Diaz, there was significant evidence calling into question

             the veracity of Gardner-Alfred’s claimed religious beliefs. But, unlike Diaz,

             Gardner-Alfred’s own testimony directly contradicted her professed religious

             beliefs and affiliation with the Temple of the Healing Spirit.

                                                 DISCUSSION

             I.     Summary Judgment

                    On appeal, both Gardner-Alfred and Diaz argue that the district court

             relied on impeachment evidence to impermissibly discount the sincerity of their

             professed beliefs, and Diaz separately argues that the district court’s conclusion

             that the vaccination policy did not conflict with her religious views was based on

             an unduly narrow construction of her religious views. For the reasons discussed

             below, we conclude that the district court properly granted summary judgment

             against Gardner-Alfred but erred in granting summary judgment against Diaz.

                    A.      Standard of Review

                    “When a district court grants summary judgment for the defendant, we

             review de novo, resolving all ambiguities and drawing all permissible factual

             inferences in favor of the plaintiff[s].” Francois v. Metro-North Commuter R.R. Co.,

             107 F.4th 67, 71 (2d Cir. 2024). We “will affirm when there is ‘no genuine dispute


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             as to any material fact and the movant is entitled to judgment as a matter of

             law.’” Windward Bora LLC v. Sotomayor, 113 F.4th 236, 241 (2d Cir. 2024), quoting

             Fed. R. Civ. P. 56(a).

                    B.      Diaz’s Claims

                    First, we address the district court’s grant of summary judgment against

             Diaz, starting with whether she raised a genuine dispute of material fact

             regarding the sincerity of her religious beliefs before turning to whether she

             adduced sufficient evidence that the Federal Reserve’s vaccination policy

             burdened her religious beliefs. For the reasons discussed below, we conclude that

             Diaz has raised a genuine dispute of material fact on both issues and accordingly

             vacate the district court’s grant of summary judgment against Diaz.

                            1.    Sincerity of Diaz’s Religious Beliefs

                    Diaz contends that the district court made improper credibility

             determinations and overly relied on impeachment evidence in order to conclude

             that her religious beliefs were not sincere. We agree.

                    Each of the federal laws that Diaz claims that the Federal Reserve violated

             require her to show that her beliefs are religious and sincerely held. Fifth Ave.

             Presbyterian Church v. City of New York, 293 F.3d 570, 574 (2d Cir. 2002) (Free


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             Exercise claim); Philbrook v. Ansonia Bd. of Educ., 757 F.2d 476, 481–82 (2d Cir.

             1985) (Title VII claim); Tanvir v. Tanzin, 120 F.4th 1049, 1058 (2d Cir. 2024) (RFRA

             claim). In particular, the “[s]incerity analysis seeks to determine an adherent’s

             good faith in the expression of h[er] religious beliefs.” Patrick v. LeFevre, 745 F.2d

             153, 157 (2d Cir. 1984). The core purpose of this analysis is to “differentiat[e]

             between those beliefs that are held as a matter of conscience and those that are

             animated by motives of deception and fraud.” Id.

                    Here, Diaz testified that her religious beliefs preclude her from receiving

             the Covid-19 vaccine because she believes it is made with aborted fetal cell lines.

             The Federal Reserve argues that the district court properly concluded that Diaz’s

             testimony was insufficient to create a disputed issue of fact because it offered

             undisputed evidence that Diaz had secular objections to the vaccines, acted

             inconsistently with her religious beliefs, and submitted the vaccine exemption

             letter after her pastor refused to sign it. While the Federal Reserve’s evidence

             certainly impeaches Diaz’s credibility, and might persuade a factfinder to reject

             her claim that her objection to vaccination was sincerely rooted in religious belief,

             we conclude that none of its evidence would preclude a reasonable jury from

             crediting Diaz’s contrary testimony about her religious beliefs.


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                    First, the Federal Reserve’s evidence did indicate that Diaz had secular

             concerns about the Covid-19 vaccines. Diaz does not dispute that she briefly

             requested a medical accommodation from the vaccination policy, and that she

             sought out, consumed, and shared media that opposed the Covid-19 vaccines on

             secular grounds. The problem with the district court’s analysis is that a jury could

             draw competing, permissible inferences from this evidence. On the one hand, the

             jury could infer that Diaz is “fraudulently hiding secular interests behind a veil of

             religious doctrine.” Int’l Soc’y for Krishna Consciousness, Inc. v. Barber, 650 F.2d 430,

             441 (2d Cir. 1981). On the other hand, the jury could infer that Diaz has both

             secular and religious objections to the Covid-19 vaccines, which a reasonable jury

             could interpret to mean that her objection to the vaccination policy was grounded

             in her sincere religious beliefs despite her concurrent secular objections. See

             Callahan v. Woods, 658 F.2d 679, 684 (9th Cir. 1981) (“[A] coincidence of religious

             and secular claims in no way extinguishes the weight appropriately accorded the

             religious one.”).4 The job of choosing between those inferences is for the jury, not


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              We note that in the Title VII context, our sister circuits have held that employees
             who have both religious and secular objections to vaccination requirements can
             still make out a failure-to-accommodate claim. See, e.g., Passarella v. Aspirus, Inc.,
             108 F.4th 1005, 1009–11 (7th Cir. 2024) (explaining that “the fact that an
             accommodation request also invokes or, as here, even turns upon secular

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             the district court on summary judgment. See Tafolla v. Heilig, 80 F.4th 111, 125 (2d

             Cir. 2023) (“[C]ompeting inferences (along with any credibility assessments to

             draw such inferences) cannot be resolved by a court on summary judgment.”);

             H.L. Hayden Co. of New York, Inc. v. Siemens Med. Sys., Inc., 879 F.2d 1005, 1012 (2d

             Cir. 1989) (similar).

                    Second, the Federal Reserve’s evidence that Diaz may have acted

             inconsistently with her religious beliefs, in that she took medications without first

             checking to ensure they were not “made using aborted fetal cell lines,” also does

             not justify the district court’s conclusion. App’x 971, 996–97. We have instructed

             district courts that the sincerity “analysis is most useful where extrinsic evidence

             is evaluated,” and we gave, as an example, that “an adherent’s belief would not

             be ‘sincere’ if he acts in a manner inconsistent with that belief.” Int’l Soc’y for

             Krishna Consciousness, 650 F.2d at 441. But we did not suggest that such

             inconsistent behavior would be dispositive, for even in the very case where we

             gave that example, we did not give controlling weight to an “apparent




             considerations does not negate its religious nature”); Sturgill v. American Red
             Cross, 114 F.4th 803, 809–10 (6th Cir. 2024) (explaining that the fact “that there
             may be both religious and secular reasons for an act does not elevate the latter
             over the former”).

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             inconsistency between doctrine and [the adherents’] actual behavior.” See id. at

             442. Nor would such a black-and-white rule be appropriate, because “even the

             most sincere practitioner may stray from time to time.” Moussazadeh v. Texas

             Dep’t of Crim. Just., 703 F.3d 781, 791 (5th Cir. 2012); see also Grayson v. Schuler, 666

             F.3d 450, 454 (7th Cir. 2012) (explaining “that a sincere religious believer doesn’t

             forfeit his religious rights merely because he is not scrupulous in his

             observance”). Accordingly, we conclude that the evidence of Diaz’s potentially

             inconsistent behavior is, at best, impeachment evidence that a jury could rely on

             to discredit Diaz’s testimony, but it is not, in and of itself, sufficient to support a

             grant of summary judgment, because at this stage of the proceedings, “the court

             ‘may not make credibility determinations or weigh the evidence.’” Moll v.

             Telesector Res. Grp., Inc., 94 F.4th 218, 227 (2d Cir. 2024), quoting Kaytor v. Elec.

             Boat Corp., 609 F.3d 537, 545 (2d Cir. 2010) (emphasis omitted).

                    Third and finally, the Federal Reserve’s evidence that the letter Diaz

             submitted with her religious accommodation request was (1) printed on the

             letterhead of a Catholic organization that Diaz was not affiliated with, and (2)

             signed by Diaz herself after her pastor refused to sign it, does not mean the

             district court could properly resolve Diaz’s sincerity as a matter of law. To start,


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             we do not find it relevant that Diaz submitted a letter with views attributable to

             the Colorado Catholic Conference, rather than her own pastor, who adhered to

             the Archdiocese of Newark’s official policy that a Catholic cannot “claim an

             exemption from vaccination on religious grounds.” App’x 1050. It is axiomatic

             that “the guarantee of free exercise is not limited to beliefs which are shared by

             all members of a religious sect.” Thomas v. Review Bd. of Indiana Emp. Sec. Div., 450

             U.S. 707, 715–16 (1981). See also Ford v. McGinnis, 352 F.3d 582, 589–91 (2d Cir.

             2003) (explaining that a subjective, rather than objective, test applies to

             evaluating Free Exercise claims). It accordingly does not matter whether her

             views align with the dogma articulated by a particular representative of

             Catholicism; what matters is that she believed that receiving the Covid-19 vaccine

             would be inconsistent with the teachings of the Catholic Church. Even if the

             Catholic hierarchy regarded her belief as heretical – and there is no evidence that

             it did – her pastor confirmed that she could seek a religious exemption based on

             her own conscientious beliefs without indicating that such beliefs would sever

             her ties with the Church. What matters to the law is whether she sincerely

             believed that the use of Covid-19 vaccines was contrary to her religious

             convictions. Indeed, a reasonable jury could conclude that Diaz’s persistence in


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             the face of her pastor’s refusal to sign the letter because of her own religious

             convictions supports, rather than undermines, the sincerity of her beliefs, as the

             jury could reason that Diaz was so steadfast in her views that she was willing to

             break with the views of her congregation. That Martin Luther was regarded by

             the Catholic Church as a heretic does not mean that his beliefs were not sincerely

             based on religious principles and, indeed, on principles derived from his

             interpretation of the Church’s own teachings.

                    Overall then, the evidence that the district court relied upon to grant

             summary judgment to the Federal Reserve, at best, impeaches the credibility of

             Diaz’s testimony about the sincerity of her religious opposition to the Covid-19

             vaccines. This case is thus analogous to Patrick v. LeFevre, in which the plaintiff

             claimed that his Free Exercise rights were violated when prison officials denied

             his request for “permission to practice, exercise, promulgate, and gather together

             with others for the purpose of [worshiping] his faith of Islam, as a Five

             Percenter” on the grounds that “The Five Percenter Nation of Islam is not

             recognized as a religious group.” 745 F.2d at 155–56 (quotation marks omitted).

             Similar to the present case, at summary judgment, the defendants there offered

             evidence to impeach the sincerity of the plaintiff’s beliefs, and the plaintiff


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             offered only his own statements to support his sincerity. Id. at 156 & n.3, 159. In

             those circumstances, we explained that the district court erred when it granted

             summary judgment to the defendants because “[t]he submission of . . .

             circumstantial evidence challenging [the plaintiff’s] credibility yields an effect

             contrary to the one intended; it only accentuates the factual conflicts present in

             this suit and punctuates the need for a full factual exposition at which these

             disputes can ultimately be resolved.” Id. at 160. So too here.

                    Accordingly, in line with our precedent, we conclude that the district court

             improperly resolved disputed issues of material fact about the sincerity of Diaz’s

             religious beliefs.

                            2.    Burden on Diaz’s Religious Beliefs

                    Because we conclude that there are factual disputes about the sincerity of

             Diaz’s religious beliefs, we must next address the district court’s alternative

             ground for granting summary judgment against her, the absence of evidence that

             Diaz’s religious beliefs conflicted with the Federal Reserve’s vaccination policy.

             Diaz contends that the district court reached its conclusion by impermissibly

             drawing inferences against her to narrow the scope of her claimed religious

             objection to the Covid-19 vaccines. Once again, we agree.


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                    To prevail on each of her federal claims, Diaz must show that her religious

             beliefs conflicted with or were burdened by the Federal Reserve’s vaccination

             policy. See 42 U.S.C. § 2000bb-1(a) (RFRA claim); Knight v. Connecticut Dep’t of

             Pub. Health, 275 F.3d 156, 167 (2d Cir. 2001) (Title VII claim); Kennedy v. Bremerton

             Sch. Dist., 597 U.S. 507, 525 (2022) (Free Exercise claim). The district court

             concluded that “Diaz’s objection to the Vaccination Policy . . . was based at best

             on a mistaken understanding” because the mRNA Covid-19 vaccines do not

             “contain, and are not manufactured with aborted fetal cell lines.” Gardner-Alfred,

             2023 WL 6214863, at *20. But to reach the conclusion that Diaz could receive one

             of the mRNA vaccines, the district court had to construe Diaz’s religious

             objection as limited “to the ingestion of vaccines that contain or are manufactured

             with aborted fetal cell lines” rather than encompassing vaccines where aborted

             fetal cells were used in the development of the vaccine. See id. at *19–21

             (emphasis added). The district court’s reasoning and conclusion were improper.

                    The district court’s first error is that it impermissibly narrowed the scope of

             Diaz’s religious objection. As we have already explained, Diaz testified that she

             objects to receiving vaccines that are “derived from,” “manufactured with,” or

             “produced with aborted [fetal] cell lines.” App’x 957, 972, 1227. Drawing all


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             permissible inferences in her favor, as the court must at summary judgment, her

             objection could easily be construed to include vaccines that were tested or

             developed using aborted fetal cells, even if such cells were not present in, or used

             to manufacture, the particular dose with which Diaz would be injected. See

             Francois, 107 F.4th at 71 (instructing that the court must “draw[] all permissible

             factual inferences in favor of the plaintiff” when the defendant moves for

             summary judgment). A jury could quite plausibly conclude that such a view

             comports with an ordinary person’s understanding of what it means to

             manufacture, produce, or derive a vaccine. In construing Diaz’s objection to

             permit such vaccines, the district court not only did not “draw[] all permissible

             factual inferences” in Diaz’s favor, see id., but it also impermissibly “dissect[ed]

             [her] religious beliefs” when her beliefs were “not articulated with the clarity and

             precision that a more sophisticated person,” such as a scientist acquainted with

             the mechanics of vaccine production, or a theologian construing philosophical

             doctrines “might employ,” Thomas, 450 U.S. at 715. That was reversible error.

                    The district court’s second error was that it assessed the objective validity

             of Diaz’s belief that receiving the Covid-19 vaccine would be contrary to her

             religious views. The district court explicitly found that “Diaz’s objection to the


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             Vaccination Policy . . . was based at best on a mistaken understanding” about the

             mRNA vaccines. Gardner-Alfred, 2023 WL 6214863, at *20. That was impermissible

             because “courts are not permitted to ask whether a particular belief is

             appropriate or true.” Jolly v. Coughlin, 76 F.3d 468, 476 (2d Cir. 1996).

                    In fact, the district court’s error is almost identical to an argument that the

             defendants raised and we rejected in Jolly. There, the plaintiff “refused to submit

             to a PPD test [for tuberculosis], claiming that accepting artificial substances into

             the body is a sin under the tenets of Rastafarianism.” Id. at 472. The defendants

             argued “that the PPD test d[id] not burden the plaintiff’s religious beliefs”

             because the PPD “test involves the injection of a naturally derived protein rather

             than an artificial substance.” Id. at 476. In rejecting that argument, we cautioned

             that such evidence, which “seek[s] to demonstrate that, as an objective matter, [a]

             plaintiff’s belief is not accurate or logical [or] that [a] plaintiff has been in some

             way misinformed,” cannot resolve whether a policy burdens a plaintiff’s

             religious beliefs because the court has “no competence to examine whether [a]

             plaintiff’s belief has objective validity.” Id. (quotation marks omitted).

                    That appears to be the very trap that the district court fell into here. The

             district court improperly gave dispositive weight to the fact that as an empirical


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             matter the mRNA vaccines were not derived from, manufactured with, or

             produced with aborted fetal cells, when what actually matters at summary

             judgment is that a reasonable jury could find that Diaz believed the Covid-19

             vaccines were developed through the use of aborted fetal cells and that taking

             such a vaccine would contravene her religious beliefs.

                    Accordingly, we conclude that the district court improperly resolved

             disputed issues of fact when it found that the Federal Reserve’s vaccination

             policy did not burden or conflict with Diaz’s religious beliefs. Furthermore,

             because the other basis upon which the district court granted summary judgment

             against Diaz was also improper for the reasons we have already explained, we

             vacate the grant of summary judgment to the Federal Reserve on Diaz’s claims

             and remand for further proceedings.

                    C.      Gardner-Alfred’s Claims

                    We now turn to whether the district court properly granted summary

             judgment against Gardner-Alfred on the ground that she failed to raise a genuine

             dispute of material fact regarding the sincerity of her religious beliefs. Like Diaz,

             Gardner-Alfred argues that the district court improperly resolved her sincerity as

             a matter of law because her own testimony about her religious beliefs, coupled


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             with her documentary evidence (i.e., the vaccination exemption package), creates

             a genuine dispute of material fact. We disagree.

                    Of course, as with Diaz, the evidence that Gardner-Alfred acted

             inconsistently with her professed religious beliefs is not a sufficient basis upon

             which to resolve Gardner-Alfred’s sincerity as a matter of law. The difference

             here is that unlike Diaz, the evidence of Gardner-Alfred’s religious beliefs is so

             wholly contradictory, incomplete, and incredible that no reasonable jury could

             accept her professed beliefs as sincerely held.

                    We start first with Gardner-Alfred’s own testimony about her religious

             beliefs. We recognize that a plaintiff’s statements about her religious beliefs can

             raise a genuine dispute of material fact as to the sincerity of those beliefs. See, e.g.,

             Patrick, 745 F.2d at 156 & n.3, 159–60. That unremarkable observation aligns with

             our hesitance to grant summary judgment “where subjective issues regarding a

             litigant’s state of mind, motive, sincerity or conscience are squarely implicated,”

             id. at 159, and with the general prohibition on assessing “credibility” or

             “weigh[ing] the evidence” on summary judgment, Moll, 94 F.4th at 227, quoting

             Kaytor, 609 F.3d at 545 (emphasis omitted). But that does not mean summary

             judgment is automatically improper when a plaintiff offers testimony about her


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             state of mind. “[P]laintiffs may not avoid summary judgment by simply

             declaring that state of mind is at issue.” Distasio v. Perkin Elmer Corp., 157 F.3d 55,

             61 (2d Cir. 1998). “Although courts are generally reluctant to dispose of a case on

             summary judgment when mental state is at issue, it is permissible to do so where

             there are sufficient undisputed material facts on the record to make the question

             appropriate for summary judgment.” Lipton v. Nature Co., 71 F.3d 464, 472 (2d

             Cir. 1995). Specifically, as is relevant here, “in the rare circumstance where the

             plaintiff relies almost exclusively on [her] own testimony, much of which is

             contradictory and incomplete, to establish a triable issue of fact,” we will find

             that such “testimony raise[s] only a sham issue of fact” where “the record

             contradictions with [the plaintiff’s] testimony [are] inescapable and

             unequivocal.” Bentley v. AutoZoners, LLC, 935 F.3d 76, 86 (2d Cir. 2019) (quotation

             marks omitted) (first alteration in the original).

                    This is such a case. Although Gardner-Alfred claims that her opposition to

             the Covid-19 vaccine stems from her twenty-year membership at the Temple of

             the Healing Spirit, she could give almost no details about her purported

             membership in the Temple, and what details she did give were often

             contradicted directly by other portions of her own sworn testimony. Most


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             strikingly, her description of the virtual services that she claims to have attended

             as evidence of her active participation at the Temple was devoid of concrete

             details, as she could recall almost nothing about the services, including what

             transpired during them, the names of anyone else who attended, or whether she

             had attended more than five services in the past five years. And with respect to

             the only detail that she did give (that she joined the services via a link), she could

             not keep her story straight: first she claimed that she never received a link to

             virtual services, but then a short time later, did a complete about-face and

             claimed that a link had been sent to her email. Perhaps not surprisingly, Gardner-

             Alfred has never produced a single email containing a link to a virtual service

             throughout this entire litigation.

                    Nor can the extrinsic evidence of her purported membership in the Temple

             of the Healing Spirit rehabilitate her contradictory, incomplete testimony. There

             are two problems with the vaccination exemption package that, in combination,

             are fatal to any claim that a reasonable jury could infer from the package that

             Gardner-Alfred’s opposition to the Covid-19 vaccine stemmed from her

             affiliation with the Temple of the Healing Spirit. First, the vaccination exemption

             package was available for purchase to the general public, without any inquiry


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             into the purchaser’s adherence to the doctrines or prior membership in the

             Temple, as evidenced by the ability of the Federal Reserve’s investigator to obtain

             the same package as Gardner-Alfred, by paying the same amount of money that

             Gardner-Alfred paid, without any prior affiliation with the Temple of the Healing

             Spirit. Second, Gardner-Alfred once again offered contradictory explanations for

             how she paid for the vaccination exemption package: first claiming she paid for it

             electronically, and then, after she failed to produce documentary evidence that

             she made an electronic payment, claiming she handed cash to an unidentified

             affiliate of Reverend Valentine at a meet-up on some street in Brooklyn in the

             middle of the pandemic, again without any recollection of exactly where the

             meeting had occurred, who the person to whom she gave the money was, or how

             she was able to recognize that person as the courier she was supposed to meet.

             On that record, no reasonable jury could conclude that the vaccination exemption

             package supports Gardner-Alfred’s testimony that her opposition to the Covid-

             19 vaccine stems from her religious beliefs as a member of the Temple of the

             Healing Spirit.

                    At bottom, Gardner-Alfred had offered no tangible evidence of her

             affiliation with the Temple of the Healing Spirit, when a reasonable juror would


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             expect to see at least some documentary evidence, such as proof she was sent a

             link to a virtual service, to back up her claim that she has been a member of the

             Temple for over twenty years. Even more telling is that despite being given

             repeated opportunities to expound upon her longstanding affiliation with the

             Temple, Gardner-Alfred claimed she could recall almost nothing, and the very

             few details she did claim to recall were contradicted by other aspects of her

             testimony. Ultimately, Gardner-Alfred has provided no evidence that she has

             ever acted consistently with her professed religious beliefs other than her refusal

             to get the Covid-19 vaccine. On that record, we conclude that the district court

             properly granted summary judgment to the Federal Reserve on Gardner-Alfred’s

             claims.

                    That is not a conclusion we reach lightly. We are mindful of “the

             judiciary’s incapacity to judge the religious nature of an adherent’s beliefs,”

             Patrick, 745 F.2d at 157, as well as the difficulties that plaintiffs face in offering

             evidence that their religious beliefs are sincerely held. But, at the same time, such

             difficulties do not mean we can abdicate our responsibility to dismiss claims at

             summary judgment where the plaintiff fails to “‘offer some hard evidence

             showing that [her] version of the events is not wholly fanciful.’” Jeffreys v. City of


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             New York, 426 F.3d 549, 554 (2d Cir. 2005), quoting D’Amico v. City of New York,

             132 F.3d 145, 149 (2d Cir. 1998). We accordingly affirm the district court’s grant of

             summary judgment to the Federal Reserve on Gardner-Alfred’s claims.

                    II.     Sanctions Order

                    Finally, we address Gardner-Alfred’s and Diaz’s contention that the

             district court abused its discretion when it imposed sanctions on them for their

             discovery misconduct. Specifically, they argue that the district court failed to

             “consider[] whether a more modest sanction would have encouraged discovery

             compliance,” in light of their general unfamiliarity with the litigation process and

             limited financial means. See Appellants’ Br. 31. We disagree.

                    We review the district court’s imposition of sanctions for abuse of

             discretion and “the factual findings of the district court made in support of its

             decision [to impose sanctions] for clear error.” Southern New England Tel. Co. v.

             Global NAPs Inc., 624 F.3d 123, 143 (2d Cir. 2010). A district court abuses its

             discretion if it makes “an error of law, a clearly erroneous finding of fact, or a

             decision that cannot be located within the range of permissible options available

             to the district court.” Funk v. Belneftekhim, 861 F.3d 354, 365 (2d Cir. 2017).

                    Here, Gardner-Alfred and Diaz do not challenge the district court’s factual


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             findings. Accordingly, it is undisputed that Gardner-Alfred and Diaz acted

             intentionally and in bad faith when they repeatedly flouted the district court’s

             orders, neglected their discovery obligations under the Federal Rules, and

             withheld relevant documents that were potentially damaging to their case. Given

             the district court’s “wide discretion in punishing failure to conform to the rules of

             discovery,” Outley v. City of New York, 837 F.2d 587, 590 (2d Cir. 1988), we identify

             no abuse of discretion in the district court’s decision to impose a modest $50,000

             in attorneys’ fees and three adverse inference instructions to sanction Gardner-

             Alfred’s and Diaz’s egregious, willful discovery misconduct.

                    Gardner-Alfred’s and Diaz’s arguments to the contrary are without merit.

             First, they assert that “[t]he Sanctions Order nowhere considers whether a more

             modest sanction would have encouraged discovery compliance.” Appellants’ Br.

             31. That claim is contradicted by the record. The district court explicitly

             recognized that it was required to “impose the least harsh sanction that can

             provide an adequate remedy,” and then carefully explained why the sanctions it

             imposed were proportional to Gardner-Alfred’s and Diaz’s flagrant discovery

             misconduct. See Gardner-Alfred, 2023 WL 3495091, at *16–18 (quotation marks

             omitted). Second, Gardner-Alfred and Diaz insinuate that their relative lack of


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             legal sophistication counsels in favor of less harsh sanctions. We disagree because

             their unfamiliarity with the litigation process does not excuse their intentional

             choice not to follow the court’s orders. See McDonald v. Head Crim. Ct. Supervisor

             Officer, 850 F.2d 121, 124 (2d Cir. 1988) (“[A]ll litigants” regardless of their

             sophistication “have an obligation to comply with court orders,” so “[w]hen they

             flout that obligation they . . . must suffer the consequences of their actions.”).

             Moreover, the plaintiffs were represented by counsel, who was available to

             explain the nature of their obligations as litigants under the Federal Rules of Civil

             Procedure.

                    We accordingly affirm the district court’s decision to impose sanctions on

             Gardner-Alfred, Diaz, and their counsel.

                                                CONCLUSION

                    We have considered the parties’ remaining arguments and find them to be

             without merit. The district court properly granted summary judgment to the

             Federal Reserve on Gardner-Alfred’s claims and appropriately imposed

             sanctions on Gardner-Alfred, Diaz, and their counsel. The district court,

             however, improperly granted summary judgment to the Federal Reserve on

             Diaz’s claims. Accordingly, we AFFIRM in part and VACATE in part the


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             judgment of the district court and REMAND the case for further proceedings

             consistent with this opinion.




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